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       Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

         The parties stipulate that petitioner shall receive the following compensation:

         A lump sum of $225,000.00 in the form of a check payable to petitioner, Ms. Loraine
Herod.

       This amount represents compensation for all damages that would be available under 42
U.S.C. §300aa-15(a). Stipulation at ¶8.

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation..3

         IT IS SO ORDERED.

                                               s/Nora Beth Dorsey
                                                Nora Beth Dorsey
                                                Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                               2
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